Case: 7:20-cv-00093-GFVT-CJS Doc #: 9 Filed: 09/25/20 Page: 1 of 1 - Page ID#: 188




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       PIKEVILLE

  CHESTER DEAN ALLEN,                              )
                                                   )
         Petitioner,                               )           7:20-cv-00093-GFVT-CJS
                                                   )
  V.                                               )
                                                   )                  JUDGMENT
  BRAD ADAMS, WARDEN,                              )
                                                   )
         Respondent.                               )
                                                   )
                                        *** *** *** ***


        Consistent with the Order entered contemporaneously herewith, and pursuant to Rule 58

 of the Federal Rules of Civil Procedure, and the Court being otherwise sufficiently advised, it is

 hereby ORDERED AND ADJUDGED as follows:

        1.    Judgment is ENTERED in favor of the Respondent;

        2.    A Certificate of Appealability is DENIED as to all issues raised by Petitioner; and

        3.    All issues having been resolved, this case is STRICKEN from the active docket.

        This the 25th day of September, 2020.
